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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
MEAGHAN KING,                                                :
                                                             :   Case No.:
                                       Plaintiff,            :
                                                             :
                   v.                                        :   COMPLAINT
                                                             :
OGURY, INC. d/b/a OGURY LIMITED and                          :
EVAN RUTCHIK, in his individual and                          :   Jury Trial Demanded
professional capacities,                                     :
                                                             :
                                       Defendants.           :
------------------------------------------------------------ X

        Plaintiff Meaghan King alleges through her counsel Wigdor LLP, as against Ogury, Inc.

d/b/a Ogury Limited (“Ogury” or the “Company”) and Evan Rutchik, in his individual and

professional capacities, (together “Defendants”) as follows:

                                     PRELIMINARY STATEMENT

        1.       Meaghan King is a highly successful ad-sales executive. In 2018, she joined

Ogury hoping to advance her career at one of the fastest growing advertising companies in the

world. Sadly, she became the sexual target of Evan Rutchik, the Company’s then Chief Revenue

Officer. While on a business trip, Rutchik insisted that King show him her room, urged her to

change into a bathing suit to “loosen up” the Company’s male clientele and pressed his groin

against her from behind while whispering that he was in an “open relationship.” King eventually

complained about Rutchik’s sexual harassment to the Company’s Human Resources (“HR”)

department. Ogury promptly fired King. It then promoted Rutchik to President of the Americas.

        2.       Defendants’ actions violated the anti-discrimination and anti-retaliation

provisions of the New York State Human Rights Law, N.Y. Exec. Law §§ 290 et seq.
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(“NYSHRL”) and the New York City Human Rights Law, N.Y.C. Admin. Code §§ 8-101 et seq.

(“NYCHRL”).

                               ADMINISTRATIVE PROCEDURES

       3.       Plaintiff will file a Charge of Discrimination and Retaliation with the Equal

Employment Opportunity Commission (“EEOC”) and seek leave to file an Amended Complaint

alleging violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title

VII”), following the EEOC’s issuance of a Notice of Right to Sue.

       4.       Pursuant to NYCHRL § 8-502, Plaintiff will serve a copy of this Complaint upon

the New York City Commission on Human Rights and the New York City Law Department,

Office of the Corporation Counsel within ten days of its filing, thereby satisfying the notice

requirements of this action.

       5.       Plaintiff has complied with all prerequisites to filing this action.

                                  JURISDICTION AND VENUE

       6.       The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, as there

is a diversity of citizenship among the parties and this action involves an amount in controversy

in excess of $75,000, excluding interests and costs. Plaintiff resides in Melbourne, Australia and

was employed in New York, New York. Defendant Ogury is a Delaware-registered foreign

business corporation with operations in New York, New York and, upon information and belief,

Defendant Evan Rutchik resides in New York, New York.

       7.       Venue is proper in the Southern District of New York pursuant to 28 U.S.C.

§ 1391(b) because a substantial part of the events or omissions giving rise to this action occurred

there. Defendant Ogury has business operations located in this District, and Plaintiff’s

employment and performance occurred in this District.




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                                                PARTIES

          8.       Plaintiff Meaghan King is a resident of Melbourne, Australia, and was a Sales

Manager at Defendant Ogury in New York, New York. At all relevant times, King was an

“employee” and/or “eligible employee” under all applicable statutes.

          9.       Defendant Ogury, Inc. d/b/a Ogury Limited is a Delaware-registered foreign

business corporation with operations in New York, New York. At all relevant times, Ogury was

an “employer” and/or “covered employer” under all relevant statutes.

          10.      Defendant Evan Rutchik was the Chief Revenue Officer at Ogury in New York,

New York. Rutchik participated in the unlawful acts and was an “aider and abettor” under all

relevant statutes.

                                     FACTUAL ALLEGATIONS

I.        KING’S PROFESSIONAL BACKGROUND

          11.      In 2006, King earned a degree in Event Management from Swinburne University

of Technology.

          12.      In January 2017, MiQ Digital, a programmatic advertising company that used

data analytics to create innovative advertising campaigns, hired King as an Account Executive.

King was an excellent performer, substantially growing the company’s business portfolio.

          13.      In late 2017, Ogury began to recruit King aggressively.

          14.      For her part, King relished the opportunity to work at a cutting-edge digital

advertising company like Ogury, the creator of the first digital marketing engine focused on user

choice.




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       15.     Moreover, as an early employee in a rising technology startup, King saw an

opportunity to grow with the Company both professionally and financially. Indeed, King

received stock options and, thus, a unique opportunity to share in Ogury’s bright financial future.

       16.     King excelled at her job. During 2018 and 2019, King was a top seller for Ogury.

King also expanded Ogury’s portfolio for the Interpublic Group of Companies while earning

substantial praise from Ogury’s clients for her tireless and outstanding work. For example, an

executive at a prominent advertising agency described King as her favorite Ogury salesperson.

Another executive at one of the country’s largest advertising agencies told King, “I would work

with you anywhere. You understand digital, marketing and data.”

       17.     In or about December 2018, King’s supervisor and the Company’s Director of

Sales, Meredith Tehan, assured King that King would be promoted to Sales Director in 2019.

       18.     By all accounts, King’s future at Ogury looked bright.

II.    RUTCHIK SEXUALLY HARASSES KING

       19.     Unfortunately, King was the victim of sexual harassment.

       20.     Initially, Rutchik (King’s boss’s boss) expressed an interest in King’s career. As

the Chief Revenue Officer and one of the most powerful men in the Company, Rutchik promised

to mentor King to ensure her success.

       21.     In fact, Rutchik sought to lure King into an unwelcome sexual relationship.

       22.     In or around June 2018, Ogury employees, including Rutchik and King, attended

a work event in Cannes, France. Ogury rented a spacious villa where most of its employees

could stay.




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         23.   Rutchik, however, often tried to turn such work events into lascivious parties. For

example, it was common knowledge that Rutchik and other male employees often behaved

unprofessionally at work events, including using cocaine.

         24.   The 2018 Cannes event was no different. For example, Rutchik made sure to

order an extraordinary amount of alcohol so that Ogury’s employees and clients would get

drunk.

         25.   During the event, one of Ogury’s clients placed his exposed penis on the shoulder

of another client and laughed uproariously, calling it a “wristwatch.”

         26.   For his part, Rutchik repeatedly tried to get King to invite him to her bedroom.

For example, Rutchik, who had reserved a hotel room near the villa, inexplicably asked if he

could keep his belongings in King’s room. King became visibly uncomfortable but was afraid to

anger Rutchik. She delicately refused, making an excuse that her room was too far from the

main house.

         27.   Undeterred, Rutchik insisted that King show him her room. Afraid of what

Rutchik might do if she refused again, King reluctantly agreed but tried to hurry Rutchik, stating

that they had to attend a client barbeque. Upon entering King’s room, Rutchik casually strolled

around in a domineering fashion and made comments about the layout, giving King the

impression that he was “marking his territory” because he planned to spend more time in the

room with King.

         28.   Rutchik’s predatory behavior escalated. During the barbeque, Rutchik

complained to King that the party was not raucous enough. Rutchik’s “solution” was to insist

that King change into her bathing suit to “loosen up” the Company’s male clients.




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       29.     King refused Rutchik’s patently sexist request and attended the barbeque in a full-

length spaghetti strapped jumpsuit she bought for the occasion. Rutchik, however, insisted on

using King as a sexual object. Specifically, later that evening, when King was walking past the

pool, Rutchik, dressed only in board shorts, wrapped both of his arms and legs around King’s

body, engulfing her in a bear hug and tackled her, throwing them both into the pool.

       30.     Humiliated and ashamed, King ran to her room, intending to remain there for the

night to avoid any further attacks by Rutchik. However, King did not want to let Rutchik ruin an

invaluable networking opportunity at a new job and returned to the event later that evening.

Afraid of what Rutchik might do, King intended to keep a safe distance from Rutchik.

       31.     Unfortunately, Rutchik tracked her down. While King was in the kitchen

reaching into the refrigerator, Rutchik approached King from behind and effectively pinned her

in place by put his hands over King’s hands. Rutchik then pressed his body against King,

rubbing his groin into her backside. Rutchik proceeded to proposition King for sex, whispering

in her ear that he was in an “open relationship.” King pushed Rutchik away and ran outside.

       32.     King reported the sexual harassment (including witnessing a client expose his

penis) to Tehan, her supervisor at the time. Because Ogury had no dedicated HR department at

the time, King did not know to whom else she could complain, especially since her complaints

involved one of the most senior men at the Company. King was especially vulnerable as an

employee on a work visa who risked deportation if she lost her job with Ogury.

       33.     Rutchik, however, continued to approach King about sex. In or around

September 2018, Rutchik exclaimed that he wanted to have sex with one of King’s female

clients. Rutchik lamented that it was a “shame” that he was married and, therefore, could only




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“have” the female client “on the side.” King immediately shut down the conversation and

abruptly walked away from Rutchik.

III.   RUTCHIK DEMANDS TO KNOW WHETHER KING INTENDS TO COMPLAIN
       ABOUT SEXUAL HARASSMENT

       34.     In or about mid-2019, Ogury was forced to conduct anti-harassment training after

a male Ogury employee slapped a female client on the buttocks. Ogury largely ignored the

sexual assault until another client threatened to pull its business from the Company as a result of

the incident. Only then did Ogury fire the harasser and schedule sexual harassment training.

       35.     After the training, King approached the trainer, an attorney from Cooley LLP

(“Cooley”), and asked whether there was a time limit to report sexual harassment. The Cooley

attorney told her there was not.

       36.     Less than an hour later, Rutchik demanded to speak to King privately. King

declined, but Rutchik insisted and took her into a conference room. Rutchik disclosed that he

knew about King’s conversation with the Cooley attorney. He then stared at King in a physically

threatening manner while interrogating her about whether she wanted to make a complaint.

       37.     King, who is several inches shorter than Rutchik, felt intimidated and was visibly

shaking during this confrontation. To escape, King stammered that she did not know what the

Cooley lawyer was talking about and fled the room.

       38.     Tellingly, that same day, Rutchik began criticizing King in a way he had not done

before, nitpicking e-mails she sent and weighing in on projects that she was working on.

       39.     As a result, King sent a written complaint to her supervisor, Tehan, detailing

Rutchik’s sexual harassment and expressing fear of retaliation because Rutchik knew King

intended to complain about him to the Cooley attorney.




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IV.      KING BECOMES THE TARGET OF RETALIATION

         40.    This was not the only instance of Rutchik’s and Ogury’s efforts to retaliate

against King.

         41.    For example, once Rutchik got the message that King did not welcome his sexual

advances, Rutchik stopped acting as King’s mentor. Instead, starting in mid-2019, after King

had indicated that she was prepared to complain about his sexual harassment, Rutchik began to

micromanage King’s work in a way that he had never done previously and unfairly criticize her

performance.

         42.    In addition, Ogury, without explanation, denied King the promotion to Sales

Director that she had been promised. (The Company did, however, see fit to promote lower

performing men.)

         43.    In September 2020, King again complained about Rutchik’s sexual harassment.

Specifically, King reported Rutchik’s conduct to her new supervisor, Senior Sales Director Dia

Marchionne. According to Marchionne, King was “in tears” when King told her about Rutchik’s

sexually harassing behavior.

         44.    Marchionne informed Ogury’s HR representative Carrie Pluchino about King’s

complaints. Moreover, Marchionne told Pluchino that she had taken detailed notes of her

conversation with King.

         45.    On September 24, 2020, King personally repeated her discrimination and

retaliation complaints to Pluchino, including having witnessed the exposed penis at the Cannes

event.




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       46.       Less than one week later, Ogury placed King on a three-month Performance

Improvement Plan (“PIP”), threatening to fire King if she did not generate $900,000 in new sales

by the end of the year.

       47.       Marchionne, King’s direct supervisor, said there had been no internal discussions

about King’s purported poor performance prior to King’s complaint to HR.

       48.       Marchionne also told Rutchik that it would take a “miracle” for any employee to

generate even $400,000 in sales during that time period in light of the struggles with Ogury’s

products and the challenges affecting the advertising industry as a result of the COVID-19

pandemic.

       49.       Marchionne attempted to remedy the situation. She approached the

predominately male executive team and accused the Company of “setting [King] up for failure”

and asked whether King “should start looking for a new job.”

       50.       On or around October 5, 2020, Pluchino told King that her complaints were

meritless.

       51.       Notably, Pluchino did not even ask Marchionne for her notes from her

conversation with King. She also made no attempt to speak with Tehan, who had been aware of

King’s complaints for years.

       52.       Upon information and belief, Pluchino failed to meaningfully interview any of the

witnesses identified by King, including the clients present during the Cannes trip. Pluchino also

failed to investigate King’s complaints about a client putting his exposed penis on the shoulder

of another client.




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V.     OGURY FIRES KING

       53.     On October 22, 2020, King, through her attorneys, sent Ogury a letter setting

forth, once again, King’s complaints of discrimination, sexual harassment and retaliation.

       54.     On November 9, 2020, less than three weeks later – and only one month into a

three-month PIP – Ogury fired King.

       55.     Thereafter, the Company promptly announced that Rutchik had been promoted to

President of the Americas, placing him in charge of Ogury’s entire American business unit

beginning in 2021.

       56.     Ogury promoted a man to replace King. Ogury only required King’s male

replacement to generate $40,000 in sales for the first quarter of 2021 – substantially less than the

$900,000 King had to generate to keep her job.

                                 FIRST CAUSE OF ACTION
                         (Discrimination in Violation of the NYSHRL)
                                    Against All Defendants

       57.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

       58.     By the actions described above, among others, Defendants discriminated against

Plaintiff on the basis of her gender in violation of the NYSHRL by denying Plaintiff the same

terms and conditions of employment available to male employees, including, but not limited to,

denying her the opportunity to work in an employment setting free of unlawful discrimination,

denying her a promotion and terminating her employment.

       59.     Defendant Rutchik has discriminated or aided and abetted the discrimination

against Plaintiff by creating, fostering, condoning, accepting, ratifying and/or otherwise failing to

prevent or to remedy the discriminatory conduct.




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       60.     As a direct and proximate result of the unlawful discriminatory conduct

committed by Defendants in violation of the NYSHRL, Plaintiff has suffered, and continues to

suffer, monetary and/or other economic harm for which she is entitled an award of monetary

damages and other relief.

       61.     As a direct and proximate result of the unlawful conduct committed by

Defendants in violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, severe

mental anguish and emotional distress, including, but not limited to, humiliation, embarrassment,

stress and anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for

which she is entitled to an award of monetary damages and other relief.

       62.     Defendants’ unlawful and discriminatory actions were done with willful

negligence, or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so

reckless as to amount to such disregard of Plaintiff’s protected rights under the NYSHRL, for

which Plaintiff is entitled to an award of punitive damages.

                                SECOND CAUSE OF ACTION
                            (Retaliation in Violation of the NYSHRL)
                                      Against All Defendants

       63.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

       64.     By the actions described above, among others, Defendants retaliated against

Plaintiff for complaining about unequal treatment on the basis of sex by altering her working

conditions, including by, inter alia, putting her on a performance improvement plan and

terminating her employment.

       65.    As a direct and proximate result of the unlawful retaliatory conduct committed by

Defendants in violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, monetary




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and/or other economic harm for which she is entitled to an award of monetary damages and other

relief.

          66.   As a direct and proximate result of the unlawful retaliatory conduct committed by

Defendants in violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, severe

mental anguish and emotional distress, including, but not limited to, humiliation, embarrassment,

stress and anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for

which she is entitled to an award of monetary damages and other relief.

          67.   Defendants’ unlawful and retaliatory actions were done with willful negligence,

or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so reckless as to

amount to such disregard of Plaintiff’s protected rights under the NYSHRL, for which Plaintiff is

entitled to an award of punitive.

                                THIRD CAUSE OF ACTION
                      (Aiding and Abetting in Violation of the NYSHRL)
                                  Against Defendant Rutchik

          68.   Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

          69.   Defendant Rutchik knowingly and maliciously aided and abetted the unlawful

employment practices, discrimination and retaliation against Plaintiff in violation of the

NYSHRL.

          70.   As a direct and proximate result of the unlawful conduct of Defendant Rutchik in

violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, monetary and/or

economic harm for which she is entitled to an award of damages, in addition to reasonable

attorneys’ fees and costs.




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       71.     As a direct and proximate result of the unlawful conduct of Defendant Rutchik in

violation of the NYSHRL, Plaintiff has suffered, and continues to suffer, mental anguish and

emotional distress, for which she is entitled to an award of damages.

       72.     The unlawful actions of Defendant Rutchik were done with willful negligence, or

recklessness, or a conscious disregard of the rights of Plaintiff or conduct so reckless as to

amount to such disregard of Plaintiff’s protected rights under the NYSHRL, for which Plaintiff is

entitled to an award of punitive damages.

                                FOURTH CAUSE OF ACTION
                         (Discrimination in Violation of the NYCHRL)
                                  Against the All Defendants

       73.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

       74.     By the actions described above, among others, Defendants discriminated against

Plaintiff on the basis of her gender in violation of the NYCHRL by denying Plaintiff the same

terms and conditions of employment available to male employees, including, but not limited to,

denying her the opportunity to work in an employment setting free of unlawful discrimination,

denying her a promotion and/or terminating her employment.

       75.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, monetary and/or

other economic harm for which she is entitled an award of monetary damages and other relief.

       76.     As a direct and proximate result of Defendants’ unlawful conduct in violation of

the NYCHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish and

emotional distress, including, but not limited to, humiliation, embarrassment, stress and anxiety,




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loss of self-esteem and self-confidence, and emotional pain and suffering for which she is

entitled to an award of monetary damages and other relief.

       77.     Defendants’ unlawful and discriminatory actions were done with willful

negligence, or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so

reckless as to amount to such disregard of Plaintiff’s protected rights under the NYCHRL, for

which Plaintiff is entitled to an award of punitive damages.

                                 FIFTH CAUSE OF ACTION
                           (Retaliation in Violation of the NYCHRL)
                                     Against All Defendants

       78.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation as

contained in each of the preceding paragraphs as if fully set forth herein.

       79.     By the actions described above, among others, Defendants retaliated against

Plaintiff for complaining about unequal treatment on the basis of sex by altering her working

conditions, including by, inter alia, putting her on a performance improvement plan and/or

terminating her employment.

       80.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, monetary and/or other

economic harm for which she is entitled to an award of monetary damages and other relief.

       81.     As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, severe mental anguish

and emotional distress, including, but not limited to, humiliation, embarrassment, stress and

anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering for which she

is entitled to an award of monetary damages and other relief.




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       82.     Defendants’ unlawful and retaliatory actions were done with willful negligence,

or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so reckless as to

amount to such disregard of Plaintiff’s protected rights under the NYCHRL, for which Plaintiff

is entitled to an award of punitive damages.

                                SIXTH CAUSE OF ACTION
                      (Aiding and Abetting in Violation of the NYCHRL)
                                  Against Defendant Rutchik

       83.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

       84.     Defendant Rutchik knowingly and maliciously aided and abetted the unlawful

employment practices, discrimination and retaliation against Plaintiff in violation of the

NYCHRL.

       85.     As a direct and proximate result of the unlawful conduct of Defendant Rutchik in

violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, monetary and/or

economic harm for which she is entitled to an award of damages, in addition to reasonable

attorneys’ fees and costs.

       86.     As a direct and proximate result of the unlawful conduct of Defendant Rutchik in

violation of the NYCHRL, Plaintiff has suffered, and continues to suffer, mental anguish and

emotional distress, for which she is entitled to an award of damages.

       87.     The unlawful actions of Defendants Rutchik were done with willful negligence, or

recklessness, or a conscious disregard of the rights of Plaintiff or conduct so reckless as to

amount to such disregard of Plaintiff’s protected rights under the NYCHRL, for which Plaintiff

is entitled to an award of punitive damages.




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                             SEVENTH CAUSE OF ACTION
(Discrimination in Violation of the New York City Victim of Sex Offenses Law § 8-107(27))
                                   Against All Defendants

       88.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

       89.     New York City makes it unlawful for an employer to discriminate against an

employee who has been the victim or perceived victim of a sexual offense.

       90.     Rutchik’s conduct, in pinning Plaintiff in place and rubbing his groin against her

backside, constitutes a sexual offense.

       91.     By the actions described above, among others, Defendants discriminated against

Plaintiff on the basis of her status as a victim of sexual offense by denying Plaintiff the same

terms and conditions of employment available to male employees, including, but not limited to,

denying her the opportunity to work in an employment setting free of unlawful discrimination,

denying her a promotion and/or terminating her employment.

       92.     As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of the law, Plaintiff has suffered, and continues to suffer, monetary and/or other

economic harm for which she is entitled an award of monetary damages and other relief.

       93.     As a direct and proximate result of Defendants’ unlawful conduct in violation of

the law, Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional

distress, including, but not limited to, humiliation, embarrassment, stress and anxiety, loss of

self-esteem and self-confidence, and emotional pain and suffering for which she is entitled to an

award of monetary damages and other relief.

       94.     Defendants’ unlawful and discriminatory actions were done with willful

negligence, or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so




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reckless as to amount to such disregard of Plaintiff’s protected rights under the law, for which

Plaintiff is entitled to an award of punitive damages.

                               EIGHTH CAUSE OF ACTION
  (Retaliation in Violation of the New York City Victim of Sex Offenses Law § 8-107(27))
                                    Against All Defendants

       95.     Plaintiff hereby repeats, reiterates and re-alleges each and every allegation in each

of the preceding paragraphs as if fully set forth herein.

       96.     By the actions described above, among others, Defendants retaliated against

Plaintiff on the basis of her complaints of discrimination as a victim of sexual offense by denying

Plaintiff the same terms and conditions of employment available to male employees, including,

but not limited to, terminating her employment.

       97.     As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

violation of the law, Plaintiff has suffered, and continues to suffer, monetary and/or other

economic harm for which she is entitled an award of monetary damages and other relief.

       98.     As a direct and proximate result of Defendants’ unlawful conduct in violation of

the law, Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional

distress, including, but not limited to, humiliation, embarrassment, stress and anxiety, loss of

self-esteem and self-confidence, and emotional pain and suffering for which she is entitled to an

award of monetary damages and other relief.

       99.     Defendants’ unlawful and retaliatory actions were done with willful negligence,

or recklessness, or a conscious disregard of the rights of Plaintiff or conduct so reckless as to

amount to such disregard of Plaintiff’s protected rights under the law, for which Plaintiff is

entitled to an award of punitive damages.




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                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enters judgment in her favor and against the

Defendants for the following relief:

       A.      A declaratory judgment that the actions, conduct and practices of the Defendants

complained of herein violate the laws of the United States, the State of New York and the City of

New York;

       B.      An award of damages against the Defendants, in an amount to be determined at

trial, plus interest, to compensate Plaintiff for all monetary and/or economic damages;

       C.      An award of damages against the Defendants, in an amount to be determined at

trial, plus interest, to compensate Plaintiff for all non-monetary and/or compensatory damages,

including, but not limited to, compensation for Plaintiff’s emotional distress;

       D.      An award of punitive damages in an amount to be determined at trial;

       E.      Prejudgment interest on all amounts due;

       F.      An award of Plaintiff’s reasonable attorneys’ fees and costs; and

       G.      Such other and further relief as the Court may deem just and proper.




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                                      JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: March 1, 2021
       New York, New York                           Respectfully submitted,

                                                    WIGDOR LLP


                                                    By: ____________________________
                                                           Valdi Licul
                                                           Renan F. Varghese

                                                    85 Fifth Avenue
                                                    New York, NY 10003
                                                    Telephone: (212) 257-6800
                                                    Facsimile: (212) 257-6845
                                                    vlicul@wigdorlaw.com
                                                    rvarghese@wigdorlaw.com

                                                    Counsel for Plaintiff




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